     Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 1 of 54



                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )
                                        )
              v.                        )         CIVIL ACTION
                                        )         NO. 09-11623-WGY
THE COMMONWEALTH OF MASSACHUSETTS       )
and MASSACHUSETTS DEPARTMENT OF         )
CORRECTIONS,1                           )
                                        )
                   Defendants.           )
                                        )



                         MEMORANDUM OF DECISION



YOUNG, D.J.                                                  May 4, 2011

     “[N]othing so concentrates the trial lawyer’s mind as the

prospect of a trial on the morrow.” Brookridge Funding Corp. v.

     1
       This is the caption the parties have used throughout and
the Court uses it here. It is however, something of a misnomer.
The Massachusetts Department of Corrections is an instrumentality
of the Commonwealth. Fully funded by the Commonwealth, it is not
capable either of suing or being sued. This is, therefore, a
suit directly against the state. At first blush, such a suit
would appear to violate the Eleventh Amendment. Here it does not
because the Eleventh Amendment does not bar federal court suits
by the United States government against a state. See West
Virginia v. United States, 479 U.S. 305, 311 (1987) (“States have
no sovereign immunity as against the Federal Government.”);
United States v. Mississippi, 380 U.S. 128, 140-41 (1965) (“The
Eleventh Amendment in terms forbids suits against States only
when ‘commenced or prosecuted . . . by Citizens of another State,
or by Citizens or Subjects of any Foreign State.’ While this has
been read to bar a suit by a State’s own citizen as well, nothing
in this or any other provision of the Constitution prevents or
has ever been seriously supposed to prevent a State’s being sued
by the United States.”).
      Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 2 of 54



Aquamarine, Inc., 675 F. Supp. 2d 227, 230 (D. Mass. 2009) (with

apologies to Samuel Johnson).      This is big, sprawling, complex

litigation.   Unduly contentious, it generated 110 docket entries

(including a motion for sanctions and numerous motions to delay

the progress of the case toward trial) prior to the final pre-

trial conference.    Yet, with a genuine trial in the offing, it

has shriveled to a single issue.        As to what well could be the

most important issue in this case, the United States,

dissatisfied with the way things were going, eager for an appeal,

and apparently unable to prove this aspect of its case, simply

gave up.2

I.   THE LEGAL FRAMEWORK

      “Federal law has long prohibited not just intentional

discrimination by employers, but also practices that have an

unintentional3 disparate impact on minorities.”         Joseph A. Seiner


      2
       As detailed below, every case management decision in this
case was made with an eye toward moving the case to trial.
Because this is a disfavored approach which implicates much
larger issues, a brief Addendum is attached to this opinion to
explain the present tension within the district court judiciary.
      3
       The fact that the law may impose liability upon private
parties for unintentional conduct creates a tension with the
Equal Protection Clause of the Fourteenth Amendment. See
Jennifer C. Braceras, Killing the Messenger: The Misuse of
Disparate Impact Theory To Challenge High-Stakes Educational
Tests, 55 Vand. L. Rev. 1111, 1141 (2002); Eang L. Ngov, War and
Peace Between Title VII’s Disparate Impact Provision and the
Equal Protection Clause: Battling for a Compelling Interest, 42
Loy. U. Chi. L.J. 1, 7 (2010); Michael Selmi, Was the Disparate
Impact Theory a Mistake?, 53 UCLA L. Rev. 701, 702 (2006). Two
commentators have indicated that the majority opinion in Ricci v.

                                    2
     Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 3 of 54



& Benjamin N. Gutman, Does Ricci Herald a New Disparate Impact?,

90 B.U. L. Rev. 2181, 2181 (2010) (emphasis added).         This is such

a disparate impact case.    It is expressly governed by Section 703

(k)(1) of Title VII.    42 U.S.C. § 2000e-2(k)(1).      It requires the

court4 to consider (in the following order) three separate

issues, or “prongs.”

     First, the plaintiff must establish that an identified
     employment practice results in a disparate impact on a
     protected group [prong one]. Second, the employer must
     prove that the employment practice is “job related for
     the position in question and consistent with business
     necessity [prong two].” Finally, even if the employer
     satisfies its burden on the job-relatedness question, the
     plaintiff can still prevail by establishing that there is
     an alternative employment practice available with less
     discriminatory impact that still satisfies the employer’s


DeStefano, 129 S. Ct. 2658 (2009), suggests that there may now be
an affirmative defense for employers who either did not know
about the disparate impact or did not intend to subject employees
to an unlawful practice. Joseph A. Seiner & Benjamin N. Gutman,
Does Ricci Herald a New Disparate Impact?, 90 B.U. L. Rev. 2181,
2181 (2010). Here, the Commonwealth of Massachusetts neither
raises an Equal Protection challenge nor poses the affirmative
defense suggested by Seiner and Gutman.
     4
       No jury is available in a Title VII disparate impact case.
S. Rep. No. 101-315, at 50 (1990); see Suja A. Thomas, A
Limitation on Congress: “In Suits at Common Law,” 71 Ohio St.
L.J. 1071, 1079 (2010). But cf. Tull v. United States, 481 U.S.
412 (1987). Here, neither party claimed a jury as matter of
constitutional right, though the Commonwealth asked for an
advisory jury, ECF No. 80, and the United States demurred on
efficiency grounds, ECF No. 92. As an empirical matter, the
United States is wrong. Jury trials are actually more efficient
than non-jury proceedings. See Theodore Eisenberg & Kevin M.
Clermont, Trial by Jury or Judge: Which is Speedier?, 79
Judicature 176, 178 (Jan.-Feb. 1996) (examining federal civil
cases and finding that although trials themselves may proceed
more quickly before a judge, jury-waived cases last longer on the
docket.)

                                   3
        Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 4 of 54



        business needs [prong three].5

Seiner & Gutman, supra, at 2191 (footnotes omitted); see also 42

U.S.C. § 2000e-2(k)(1)(A).

        In sum, if the respondent wins the first prong, it’s game

over.       If, however, the claimant succeeds on the first prong,

then the winner of two out of three prevails.

II.   PRIOR PROCEEDINGS

        The plaintiff, the United States of America (“United

States”), commenced this action on September 28, 2009, against

the Commonwealth of Massachusetts and the Massachusetts

Department of Corrections (collectively the “Commonwealth”)

seeking an order enjoining the Commonwealth from administering

the Caritas Physical Abilities Test (“PAT”) in the selection of

entry-level correctional officers (“COs”) and correctional

program officers (“CPOs”) due to its alleged disparate impact on

women in violation of Title VII, 42 U.S.C. § 2000e-2.            The United

States also seeks back pay with interest,6 offers of employment,


        5
       Disparate impact cases thus shift the burden of persuasion
to the respondent on the second prong if the claimant establishes
the first prong. Griggs v. Duke Power Co., 401 U.S. 424, 432
(1971). This is sharply different from the protocol articulated
in McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802 (1973),
which shifts only the burden of production to the defendant upon
proof of the plaintiff’s prima facie case. This difference is
especially significant in light of the summary judgment analysis
below.
        6
       Compensatory damages, however, are not available to a
claimant in a disparate impact case. See 42 U.S.C. §
1981a(a)(1).

                                      4
      Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 5 of 54



retroactive seniority, and other benefits for women who were

affected by the use of the PAT.       Compl., ECF No. 1.     The

Commonwealth denied these allegations and issue was joined on

December 4, 2009.    Answer, ECF No. 9.      Under our Local Rules, an

initial case management scheduling conference is to be held

within 90 days of the first defense pleading.         D. Mass. L.R.

16.1(a).   The parties duly submitted a proposed case management

order that posited a rather leisurely run-up to trial.          ECF No.

11.   The Court returned the proposal for re-drafting, indicating

that it expected the case to be trial-ready not later than 12

months after the initial case management        scheduling conference.7

      At the February 10, 2010, initial case management scheduling

conference the Court placed the case on its running trial list8

for February 7, 2011, with a final pre-trial conference to take

place no sooner than January 3, 2011.

      Discovery proved unnecessarily contentious, reflecting

credit on neither party.     The United States, claiming that the

case was evolving, tried to renege on its agreements in the case



      7
       This is the Court’s usual practice. The U.S. District
Court Speaks 27 (6th ed. 2011). It has been my experience that a
year to get ready for trial is, in almost every instance, more
than enough time if the parties seriously want a trial. Here ten
lawyers filed appearances for the United States and six for the
Commonwealth. There was no occasion for excessive delay.
      8
       This Court’s use of a “running” trial list is analyzed
fully in William G. Young, Vanishing Trials, Vanishing Juries,
Vanishing Constitution, 40 Suffolk U. L. Rev. 67, 80 (2006).

                                    5
     Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 6 of 54



management scheduling order concerning the scope and extent of

discovery.   The Court refused to make changes.       The Court’s order

of August 23, 2010 is illustrative:

     The plaintiff may have 10 seven hour depositions as it
     agreed unequivocally. Had it sought a different case
     management scheduling order, it was its duty to negotiate
     it at the time of the 16.1 conference. Moreover, the
     plaintiff’s definition of “relating to” is vastly
     overbroad and is sticken [sic] without prejudice to
     framing a narrower, more focused definition.

Order, Aug. 23, 2010.

     As the clock counted down toward trial, the parties began to

scramble, seeking extensions of the deadlines set in the initial

case management scheduling order.      The Court allowed some of

these, eventually extending discovery to January 3, 2011 and the

dispositive motion deadline to January 21, 2011.9        The trial date

was, of course, not extended.     See Order, Oct. 26, 2010.

     Not surprisingly, on December 23, 2010, the United States

moved for summary judgment on all three prongs.10       Pl.’s Mot.


     9
       I made several missteps in my scheduling orders. First,
by adopting the parties’ proposed schedule, I bifurcated
liability and remedy, thus potentially fostering a far more
lengthy process than usual. Second, by agreeing with the parties
to crowd the dispositive motion deadline up against the trial
date, I caused them needless expense. My usual practice is to
set the dispositive motion filing deadline at least three months
before the trial date. In retrospect, I should have stuck to
that practice here.
     10
       Today, a motion for summary judgment appears to be de
rigeur in every civil case, imposing enormous costs on the
judicial system. Why? Because it works (and lawyers know it).
     [As]   Judge  Patricia   Wald   wisely   observed,   the
     jurisprudence of the federal courts is the jurisprudence

                                   6
     Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 7 of 54




     of summary judgment. Patricia M. Wald, Summary Judgement
     at Sixty, 76 Tex. L. Rev. 1897 (1998).             Today,
     commentators are in near unanimous agreement that federal
     courts overuse summary judgment as a case management
     tool, Arthur R. Miller, The Pre-Trial Rush to Judgment:
     Are the “Litigation Explosion,” “Liability Crisis,” and
     Efficiency Cliches Eroding Our Day in Court and Jury
     Trial Commitments?, 78 N.Y.U. L. Rev. 982, 1047 (2003);
     Stephen B. Burbank, Vanishing Trials and Summary Judgment
     in Federal Civil Cases: Drifting Toward Bethlehem or
     Gomorrah?, 1 J. Empirical Legal Stud. 591, 592, 600
     (2004); Suja A. Thomas, Why Summary Judgment is
     Unconstitutional, 93 Va. L. Rev. 139 (2007); D. Theodore
     Rave, Note, Questioning the Efficiency of Summary
     Judgment, 8 N.Y.U. L. Rev. 875, 900 (2006); John
     Bronsteen, Against Summary Judgment, 75 Geo. Wash. L.
     Rev. 522, 551 (2007); and the courts themselves
     acknowledge the force of the charge. See Doe v. Abington
     Friends School, 480 F.3d 252, 258 (3d Cir. 2007) (Ambro,
     J.) (“Since the Supreme Court removed the [summary]
     judgment procedure from disfavored status in the 1980's,
     some have opined that the pendulum has swung too far in
     the opposite direction”).
In re One Star Class Sloop Sailboat built in 1930 with Hull No.
721, Named “Flash II”, 517 F. Supp. 2d 546, 555 (D. Mass. 2007);
see Ned Snow, Judges Playing Jury: Constitutional Conflicts in
Deciding Fair Use on Summary Judgment, 44 U.C. Davis L. Rev. 483
(2010).
     Employment discrimination cases are especially vulnerable to
pseudo-analysis.
     Simplistic, heuristic devices and formulaic approaches
     have led to an extraordinary rate of defendant decisions
     on summary judgment. In part, I suggest, this is the
     pressure of the docket.      Discrimination claims have
     tripled over the last twenty years. And since they are
     so fact-bound, they take up multiple trial days.
     Clearly, some judges simply want to be rid of them. When
     I was a “baby judge” I attended a training session. The
     trainer was to address employment discrimination cases.
     He began his presentation with: “Here’s how you can get
     rid of these cases . . .” and he was not talking about
     plaintiff’s verdicts. Gender Bias Task Forces from the
     Ninth and Eight Circuits reported that judges were
     impatient with sex-based employment discrimination
     claims. . . . Summary judgment has transformed employment
     discrimination law, not just because it necessarily

                                   7
        Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 8 of 54



Summ. J., ECF No. 73.       The Court set the motion hearing for

January 19 and the final pre-trial conference for January 27,

2011.        The Commonwealth’s riposte on January 13, 2011, was

rapier-like, opposing the United States’ motion and cross-moving

for partial summary judgment only on the first prong – the game

winner.       Defs.’ Mem. L. Opp’n Pl.’s Mot. Summ. J. and Cross-Mot.

Partial Summ. J., ECF No. 84 (“Defs.’ Mem.”).           At the Court’s

direction, the courtroom deputy clerk explored with the parties

whether they wished to treat the cross-motions as a case

stated.11       Both parties demurred, and the United States


     eliminates jury trials but because it has transformed the
     substantive law of discrimination.     Let me underscore
     that – under the guise of summary judgment, judges, not
     juries, are completely reshaping discrimination law –
     what kinds of sexual comments are harassing, what kinds
     of racist epithets count as discriminatory, what
     environments disadvantage even the most reasonable of
     women, what kinds of words connote discrimination.
Judge Nancy Gertner, Address to the Employment Law Conference,
Massachusetts Bar Assoc. (May 7, 2007); see also Suja A. Thomas,
Oddball Iqbal and Twombly and Employment Discrimination, 2011 U.
Ill. L. Rev. 215 (arguing that the new pleading requirements will
work a revolution akin to that of summary judgment when moving to
dismiss employment discrimination cases).
        11
       Derived from the procedures of the courts of the
Commonwealth of Massachusetts, see, e.g., Parker v. Morrell, 59
Mass. App. Dec. 34 (Mass. Dist. Ct. 1976), the “case stated”
procedure is firmly established in the jurisprudence of the First
Circuit. See, e.g., Continental Grain Co. v. Puerto Rico
Maritime Shipping Auth., 972 F.2d 426, 429 n.7 (1st Cir. 1992);
Boston Five Cents Sav. Bank v. Secretary of Dep't of Hous. &
Urban Dev., 768 F.2d 5, 11-12 (1st Cir. 1985); Bunch v. W.R.
Grace & Co., 532 F. Supp. 2d 283, 286-87 (D. Mass. 2008). It is
a most helpful procedural device. In this session of the Court,
it works like this: whenever cross-motions for summary judgment
reveal that the relevant facts appear without significant

                                      8
      Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 9 of 54



immediately filed an emergency motion for a continuance. ECF No.

89.   The Court had had enough.     “Neither the Motion hearing,

Final Pre-Trial Conference, nor the Trial will be continued in

this case.”   Order, Jan. 14 2011.

      On January 19, 2011, the Court held a hearing on the various

motions for summary judgment.      The Court, as is now its practice,

put counsel on notice that a party that moves for summary

judgment may have summary judgment taken against it.12         Again,


dispute, the courtroom deputy clerk offers the parties to treat
the case as a case stated. Should they accept, as was eventually
the case here, the Court treats the undisputed facts as the
established record and draws the reasonable inferences therefrom
without the necessity of drawing adverse inferences against each
moving party, cf. Fed. R. Civ. P. 56. The facts of the case
being established, the Court affords each party thirty minutes
for final argument (not the usual ten minutes per party when
hearing argument on a motion). In due course, the Court enters
findings and rulings as required by Federal Rule of Civil
Procedure 52(a).
      12
        This Court has previously explained:
      The law in this circuit is well established: a party that
      moves for summary judgment runs the risk that if it makes
      a woefully inadequate showing, not only might its own
      motion for summary judgment be denied, the court may sua
      sponte order summary judgment against the movant. See
      Berkovitz v. Home Box Office, Inc., 89 F.3d 24, 29-30
      (1st Cir. 1996); see also Sanchez v. Triple-S Mgmt.
      Corp., 492 F.3d 1, 7-9 (1st Cir. 2007).            Before
      considering granting sua sponte summary judgment,
      however, certain conditions must be met. Specifically,
      to “ensure the targeted party has an adequate opportunity
      to dodge the bullet,” a court may only enter summary
      judgment sua sponte if: (1) fact discovery is
      sufficiently advanced that the parties enjoyed a
      reasonable opportunity to glean the material facts, and
      (2) the targeted party has appropriate notice and a
      chance to present its evidence on the essential elements
      of the claim. Burkovitz, 89 F.3d at 29.

                                    9
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 10 of 54



the Court offered case stated treatment.      When this was declined,

the Court heard a rather disjointed presentation where counsel

jumped from prong to prong (10 minutes per side). Taking the

matters under advisement, “the Court remind[ed] counsel of the

imminent final pretrial conference and the trial.”        Court notes,

Jan. 19, 2011.    Over the ensuing week, I had about made up my

mind to grant summary judgment for the Commonwealth on the second

prong, but to deny the remainder of the cross motions.

        “Due to the snowstorm and the inability of U.S. counsel to

get here from Washington D.C., the [pre-trial] conference [was]

reset for Friday, [January 28, 2011].”      Court notes, January 27,

2011.

        On Friday morning, January 28, 2011, the parties filed their

Joint Pretrial Memorandum and the Court learned for the first

time that they estimated a trial lasting over two months on

liability alone.13    ECF No. 108.    The pretrial conference


Ambit Corp. v. Delta Airlines, Inc., 707 F. Supp. 2d 74, 78 (D.
Mass. 2010). Both the necessary preconditions were met here.
Since December 1, 2010, Rule 56 expressly provides that the court
may “grant summary judgment for a nonmovant.” Fed. R. Civ. P.
56(f)(1). As the Advisory Committee Note to the most recent
amendment explains, “Subdivision (f) brings into Rule 56 text a
number of related procedures that have grown up in practice.”
        13
       This Court’s practice is to bi- or trifurcate civil jury
trials estimated to last more than 20 trial days, reasoning that
a month is a long enough commitment for citizen jurors. This, of
course, is a jury-waived case. A two month trial would
necessarily involve a stop and go process as the Court fits in
pending criminal trials. Cf note 4, supra (discussing the
relative efficiency of jury and jury-waived trials).

                                     10
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 11 of 54



convened at 2:00 p.m.    The Court inquired as to the possibilities

of settlement and encouraged the parties to talk.        No one was

interested.   The Court then acted on the pending motions for

summary judgment, denying the motions as to the first and third

prongs but granting summary judgment against the United States on

the second prong.

     Counsel for the United States was thunderstruck.        First,

they reminded the Court that the Commonwealth had not even moved

for summary judgment on the second prong.       This was a non-

starter.   The parties had been duly warned.      See note 12, supra.

Second, evidently playing for time, they wisely asked for a

written exposition of the Court’s reasoning.       They were assured

one would be forthcoming after trial on the remaining issues.

Serious discussion then ensued.     The United States came to favor

case stated treatment of the first prong - especially after the

Court indicated that on the summary judgment record it appeared

to be the likely winner on that prong.      On the assumption that

the United States would, upon case stated hearing, prevail on the

first prong, the parties agreed to a sensible nine day trial14 on

the third prong.    Trial was a week away.

     14
        Like many other judges, and as recommended by the
American Bar Association, ABA Principles for Juries and Jury
Trials, Principle 12(A), this Court (with the agreement of the
parties at the final pretrial conference), establishes (and
adheres to) reasonable time limits for every civil trial. See D.
Mass. L.R. 43.1(a); The U.S. District Court Speaks, supra, at
172-75.

                                  11
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 12 of 54



     On Friday, February 4, 2011, the Court held an hour long15

hearing where the parties made final arguments upon the agreed

record as to the first prong.     The Commonwealth put up a spirited

defense and the Court felt unable to make findings and rulings

from the bench.   Assuming the United States would win, however,

the Court reminded the parties that trial on the third prong

would commence at 9:00 a.m. on Monday, February 7, 2011.

     At this juncture, the United States surprised everyone (at

least they certainly surprised me) by announcing they were not

going forward on the third prong.      The hearing thus adjourned,

the Court taking the first prong under advisement.        Later in the

day the United States filed a notice of withdrawal (without

prejudice) of theory of liability (i.e. the third prong).         ECF

No. 121.   The Commonwealth responded nearly instantly, claiming

it had been betrayed.    ECF No. 122.    The Court responded, “The

Court has been blindsided.    This is nothing more than an attempt

to seek an interlocutory appeal and (perhaps) judgeshop.         Any

withdrawal will be with prejudice.      Otherwise, be here Monday

ready for trial.”   Court notes, Feb. 4, 2011.      The United States

then filed a notice of withdrawal (with prejudice) of theory of

liability.   ECF No. 123.




     15
       The Court generally affords parties to a civil case one
half hour per side for closing argument. The U.S. District Court
Speaks, supra, at 221.

                                  12
       Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 13 of 54



       On Monday, February 7, 2011, the Court empaneled the next

case on the running trial list, Brownell Trailers, LLC v.

Kavanaugh-Brownell Boat Stands, LLC, No. 10-cv-11234-WGY.            It

involved the federal anticybersquatting statute.           The jury found

for the defendant.16

III.    ANALYSIS

       A.   The First Prong - Findings & Rulings

       Because case stated treatment is the equivalent of actual

trial upon a stipulated record, the Court necessarily must enter

findings and rulings pursuant to Federal Rules of Civil Procedure

52(a)(1).

             1.    Findings of Fact

       Since June 2007, the Commonwealth has used the Caritas PAT

to pre-screen and select applicants for CO and CPO positions.

Pl.’s Statement Undisputed Material Facts (“Pl. Facts”) ¶ 7, ECF

No. 75.     While there are several criteria that an applicant must

meet, all must pass the PAT to be offered a position as a CO or


       16
       The wisdom of Judge John H. Meagher’s famous aphorism
(“This is a trial court. Trial judges ought go on the bench
every day and try cases.”) is here starkly illustrated. District
judges have a myriad of duties. It is necessary to have one
organizing principle for the discharge of the judicial office.
Judge Meagher’s approach is the best advice I’ve ever received.
Equally good is the advice given me by Judge Owen Panner of the
United States District Court for the District of Oregon: “There’s
not too much to this judging business, Bill. You find out what
cases you have. You get them to trial as soon as you reasonably
can. You try cases the best you know how. You decide what you
need to decide as fairly as you can - and you keep moving on.”

                                      13
       Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 14 of 54



CPO.    Id. ¶ 12.    The PAT is made up of 11 events that applicants

must complete either within a given time frame or in conformance

with some other criteria.       Id. ¶ 28.       The PAT has the same

physical requirements for both men and women.           Id. ¶ 29.17

       In 2007, 97.2% of men passed the PAT while 55.1% of women

passed.     Defs.’ Response Pl.’s Statement Undisputed Facts (“Defs.

Facts”) ¶ 100, ECF No. 87.       In 2008, 96.0% of men passed the PAT

while 65.2% of women passed.        Id.    In 2009, 99% of men passed the

PAT while 84.2% of women passed.          Id.

       In two out of these three years, the disparity between male

and female pass rates well exceeds two-to-three standard

deviations, the range the Supreme Court has considered

statistically significant in the context of disparate impact.

Hazelwood Sch. Dist. v. United States, 433 U.S. 299, 308 n.14

(1977); Defs. Facts ¶ 102.       In essence, the United States relies


       17
       Prior to using the PAT, the Commonwealth used the Cooper
Test as a selection device for hiring COs and CPOs. Pl. Facts
¶ 15. The Cooper Test was an age-normed and gender-normed test.
Id. ¶ 17. Under the Cooper Test, the standards were relaxed for
women. Id ¶ 21. For example, the Cooper Test required all
applicants to do a number of sit-ups, push-ups, and complete a
1.5 mile run in a certain amount of time. Men from the ages of
19 to 29 were originally expected to complete 34 sit-ups, 26
push-ups, and complete a 1.5 mile run in 13 minutes 10 seconds
whereas women of the same age were expected to complete 29 sit-
ups, 21 push-ups, and complete a 1.5 mile run in 15 minutes 49
seconds. Id. The Cooper Test was later updated (“The Cooper
II”). The Cooper II required that men of ages 19.5 to 29 be able
to complete 29 sit-ups, 22 push-ups, and run 1.5 miles in 16
minutes 4 seconds, whereas women of the same age were expected to
complete 24 sit-ups, 17 push-ups, and run 1.5 miles in 19 minutes
18 seconds. Id. ¶ 22.

                                     14
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 15 of 54



on these raw test scores to argue that the PAT has a negative and

disparate impact on women.

     The Commonwealth raises numerous arguments.        It argues that

the PAT is a relatively new test and that, as candidates become

more familiar with it, the male-female pass rates even out.

Moreover, it argues that even moderate training for the test

dramatically increases anyone’s chance of passing the PAT.

Defs.’ Mem. 10.   It points to evidence that, when moderately

training, 99.6% of men pass while 95.5% of women pass, thus

offering a potential cause, or at least a variable, contributing

to the disparity.    Defs. Facts ¶ 162.    The United States counters

by noting that test scores recorded after this suit had commenced

are inherently suspect due to the chance that scorekeepers are

aware of the litigation challenge.      Hr’g Tr. 16:16-20, Feb. 4,

2011, ECF No. 127.   Finally, the Commonwealth argues that, even

if the male-female test scores are sufficiently disparate, the

United States has not proved that gender was the cause.         See EEOC

v. Steamship Clerks Union Local 1066, 48 F.3d 594, 601 (1st Cir.

1995); Hr’g Tr. 7:17-10:17.

     While it is true that the United States bears the burden of

proving the relevant causation, on the facts of record here, such

a finding is warranted and the Court draws that reasonable

inference here.




                                  15
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 16 of 54



           2.   Ruling of Law

     The United States has a compelling interest in achieving

equal employment opportunity through the removal of unwarranted

barriers to employment.    See Ricci, 129 S. Ct. at 2697.       Indeed,

removing unwarranted barriers to employment is “the strongest

[reason] for the disparate impact provision because it protects

liberty and equality rights. The disparate impact provision

removes arbitrary and unnecessary barriers to employment by

eliminating business practices that adversely impact [women]

without a business justification or where there are equally

effective alternatives with less adverse effect.        In this way,

the provision affords people economic liberty and equality by

allowing them to attain their livelihood without unnecessary

[gender] barriers.”   Eang L. Ngov, War and Peace Between Title

VII’s Disparate Impact Provision and the Equal Protection Clause:

Battling for a Compelling Interest, 42 Loy. U. Chi. L.J. 1, 88

(2010).   Accordingly, the quantum of evidence necessary to

establish disparate impact ought not be too great.        Thus the

Court finds by a fair preponderance of the evidence that the use

of the Caritas PAT unintentionally imposes a disparate impact on

women and rules that the United States has established the first

prong.




                                  16
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 17 of 54



        B.   The Second Prong – Summary Judgment Ruling

        So too, I thought that the quantum of evidence necessary to

establish that the PAT is job related for the position in

question and a business necessity ought itself not be too great

because the intent of Congress was not to “command[] that the

less qualified be preferred over the better qualified simply

because of [gender].      Far from disparaging job qualifications as

such, Congress has made such qualifications the controlling

factor, so that [gender] . . . become[s] irrelevant.”        Griggs v.

Duke Power Co., 401 U.S. 424, 436 (1971).       This same theme is

apparent today.      The best way not to discriminate is not to

discriminate.      This is “the important purpose of Title VII – that

the workplace be an environment free of discrimination, where

[gender] is not a barrier to opportunity.”       Ricci, 129 S. Ct. at

2674.

              1.   The Summary Judgment Legal Framework

        Reciting the teaching of Celotex Corp. v. Cartrett, 477 U.S.

317 (1986), and      Anderson v. Liberty Lobby, Inc., 477 U.S. 242

(1986), is today so commonplace as to be hackneyed.        Here, it

suffices only to say that before summary judgment properly could

be rendered against the United States on the second prong,         the

Court, focusing only on the undisputed facts themselves and

drawing all reasonable inferences therefrom in favor of the

United States, would have to rule as matter of law that the


                                    17
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 18 of 54



Commonwealth must prevail.    Moreover, since the Commonwealth

bears the burden of proof on the second prong, the Court must

disregard all evidence in favor of the Commonwealth which, as

fact-finder, it would free to disbelieve.18      Reeves v. Sanderson

Plumbing Prods. Inc., 530 U.S. 133, 151 (2000) (noting that the


     18
       This approach obviously is in tension with the First
Circuit’s guidance in Dennis v. Osram Sylvania, Inc., 549 F.3d
859 (1st Cir. 2008), that, “in considering a motion for summary
judgment the [district] court should believe uncontradicted
testimony unless it is inherently implausible.” Id. at 856
(quoting dictum in Lauren W. ex rel Jean W. v. DeFlaminis, 480
F.3d 259, 271-72 (3d Cir. 2007)). Moreover, like the local rules
of many districts, see, e.g., S.D.N.Y. L.R. 56.1; but see Seitz
v. DeQuarto, No. 08-1537, 2011 WL 1377881, *1 n.2 (S.D.N.Y. 2011)
(criticizing that rule), District of Massachusetts Local Rule
56.1 provides that: “Material facts of record set forth in the
statement required to be served by the moving party will be
deemed for purposes of the motion to be admitted by opposing
parties unless controverted by the statement required to be
served by opposing parties.”
     Both the guidance of the First Circuit and the command of
the Local Rules appear overbroad in light of Reeves when the
proferred materials come from a party bearing the burden of
proof. I read Reeves to require that such materials be
disregarded altogether (unless admitted) whether or not the
opposing party actually controverts them due to the fact that the
fact-finder may disbelieve them. To do otherwise is to conflate
the jury’s fact-finding role with the court’s law explaining
role, unconstitutionally marginalizing the jury and draining the
court’s judgments of their full moral force. It is this judicial
mindset that evokes much of the most telling criticism of our
processes. See, e.g., Anderson v. Potter, 723 F. Supp. 2d 368,
372 & n.4 (D. Mass. 2010); Arthur Miller, The Pre-trial Rush to
Judgment: Are the “Litigation Explosion,” “Liability Crisis,” and
Efficiency Cliches Eroding Our Day in Court and Jury Trial
Commitments?, 78 N.Y.U. L. Rev. 982 (2003); Richard L. Steagall,
The Recent Explosion in Summary Judgments Entered by the Federal
Courts Has Eliminated the Jury from the Judicial Power, 33 S.
Ill. U. L.J. 469 (2009); Suja A. Thomas, The Fallacy of
Dispositive Procedure, 50 B.C. L. Rev. 759 (2009); Suja A.
Thomas, Why Summary Judgment is Unconstitutional, 93 Va. L. Rev.
139 (2007).

                                  18
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 19 of 54



court must review the record as a whole, but that “it must

disregard all evidence favorable to the moving party that the

jury is not required to believe.”); see also Robert S. Mantell,

Summary Judgment: The Real World, 31st Ann. Lab. & Emp. L. Spring

Conf. 275, 276 (Mass. Bar Ass’n, Mar. 11, 2010) (“To rely at

summary judgment on evidence that a jury need not believe would

be to engage in improper fact-finding.”).

          2.   Initial Application of the Legal Framework

     Consistent with the directions and strictures limned above,

this Court relied only on materials the United States in fact

admitted, accepted its proffers of facts at face value,19 and

drew all inferences in its favor.      Therefore, the Court

completely disregarded the Commonwealth’s so-called “validation”

studies and likewise disregarded the opinions of its “experts.”

Indeed, it disregarded all the Commonwealth’s proffered

materials, save for data the United States actually admitted.




     19
       There is one exception. The “experts” on both sides have
ventured their (contrary) opinions on the ultimate legal issues
before the Court. While this is appropriate under Fed. R. Evid.
704, it does not prevent adjudication by summary judgment as that
rule concerns itself with “genuine issue[s] [of] material fact.”
Fed. R. Civ. P. 56(c)(2) (emphasis added). The Court has, of
course, accepted as true all the subsidiary factual opinions
rendered by the United States’ “experts.”

                                  19
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 20 of 54



               a.   Relatedness at First Blush

     The requirements of job relatedness and business necessity

are conjunctive and, on summary judgment both must be established

as matter of law.

     First, I thought, a little common sense.       This is not a case

involving treating flight attendants as fashion models, see

Gerdom v. Continental Airlines, Inc., 692 F.2d 602 (9th Cir.

1982), or one where sexist objectification of waitstaff is

claimed essential to a business model, see Texas Man Settles

Discrimination Lawsuit Against Hooters for Not Hiring Male

Waiters, April 21, 2009, http://www.foxnews.com/story/

0,2933,517334,00.html.    These are corrections officers.       Daily,

many of them must move unarmed (lest their weapons be wrested

away from them) through the general populations of the

Commonwealth’s prisons.    It simply stands to reason that their

mental acuity, reaction times, speed, agility, and strength have

a direct bearing on their fitness to do the job.        The

Commonwealth has a duty to employ corrections officers physically

able to fulfill the requirements of the job.       The safety of

inmates and staff depends on it.       See Dothard v. Rawlinson, 433

U.S. 321, 326-27 (1997); see generally Human Rights Watch, No

Escape: Male Rape in U.S. Prison Systems, http://www.hrw.org/

legacy/reports/2001/prison/report.html.      This much is common

ground between the parties and is truly undisputed.        As expounded


                                  20
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 21 of 54



upon below, however, common sense in this context simply is

insufficient.

     The United States points out – and this Court fully accepts

for the purposes of summary judgment analysis – that the Caritas

PAT was developed using a superficial and professionally

unacceptable process; that the Caritas PAT, as an “obstacle

course” exercise, does not reflect a representative sampling of

the CO and CPO jobs’ physical demands; and that the fuzzy “fit”

between actual job requirements and the Caritas PAT seriously

undermines the ability of that test to identify applicants

capable of performing successfully the CO and CPO jobs.         See

Pl.’s App. 14, Jones Report vi, ECF No. 76-14; Pl.’s App. 15,

McArdle Report 4, ECF No. 76-15.

     All true, I thought, yet more indicative of the need for a

better test (the third prong) than determinative of the second.

I thought, when Congress itself uses the term “related” or

“relates to”, courts are expected to give a generous reading to

the concept to implement the congressional intent.        See, e.g.,

Pilot Life Ins. Co. v. Dedeaux, 481 U.S. 41, 45-46 (1987)

(ERISA); and Shaw v. Delta Air Lines, Inc., 463 U.S. 85, 96-98

(1983) (airline deregulation).

     Surely the Caritas PAT is better than no test at all, I

thought.   Surely the Commonwealth is entitled to seek to upgrade

the physical abilities of its correctional officer work force to


                                  21
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 22 of 54



respond to potential internal safety threats.       Of course, many

corrections officers have desk jobs, work in storerooms, operate

transportation, or man gates and checkpoints at the outer

perimeter.   But all are expected to be capable of prompt response

to unforeseen emergencies.    Many state troopers work desk jobs as

well, yet we expect them all to operate the cruisers.        When we

arm our law enforcement personnel, we pray they will never have

to reach for their guns, but we expect them to shoot straight.

We depend on it.

     For these reasons, the Court concluded (erroneously as it

turns out) that the Caritas PAT, for all its flaws, despite the

disparate impact the test apparently had, and even though a

better test may be needed, was nevertheless sufficiently

“related” to job performance to pass muster.

                b.   Business Necessity at First Blush

     Here, the United States admits that workers compensation

claims decreased among “new” corrections officers who had taken

and passed the Caritas PAT.    The Commonwealth argues that this

demonstrates business necessity.       The United States takes strong

exception to this claim, providing evidence that such “new”

employees are less likely to submit such claims early in their

careers and questioning whether the bulk of the claims that were

submitted have anything to do with the abilities the Caritas PAT

is designed to measure.    See Pl. Facts ¶¶ 233-271.      The Court


                                  22
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 23 of 54



gave this evidence full weight and drew all inferences in favor

of the United States.    What is left is an admitted diminution of

claims but minimal evidence suggesting that any more than a few

of these claims can be linked in any way to the physical skills

tested by the Caritas PAT.

     Managing workplace injuries and related costs is an

essential aspect of any organizational endeavor, either private

or governmental.   This is especially crucial for a law

enforcement agency such as the Massachusetts Department of

Corrections because beneficent Massachusetts statutes may impose

extensive long term costs on the Commonwealth should its officers

become disabled in the line of duty.      See Mass. Gen. Laws Ann.

ch. 126 § 18A; see generally, id. ch. 152.

     Here, where it remains undisputed that workers compensation

claims did dip after the adoption of the Caritas PAT, I thought I

ought not second guess the responsible state managers by

requiring extensive proof of causation.      Here, where the complete

good faith of Commonwealth officials is unchallenged and where

any disparate impact is wholly unintentional, I jumped to the

conclusion that the business necessity defense was established as

matter of law.   Things would be different, I thought, were there

a better test with less disparate impact that achieved the same

cost savings (the third prong).




                                  23
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 24 of 54



           3.   Post Ruling Developments

     The Court granted summary judgment on the second prong on

January 28, 2011, recognizing that it “should state on the record

the reasons for granting . . . the motion.”       Fed. R. Civ. P.

56(a).   That ruling thus became law of the case; it could be

revised prior to the entry of judgment only if the Court

determined that its reasoning would not “write” or if subsequent

proceedings convinced the Court that revision was necessary.

     At first blush, subsequent proceedings only tended to

confirm the propriety of granting summary judgment.        First,

objective consideration of the record during the case stated

phase convinced the Court that the Commonwealth adopted the

Caritas PAT to advance a wholly legitimate public policy goal:

the employment of an increasingly physically adept force of

corrections officers.    Second, as the United States simply gave

up on the third prong, I thought myself entitled to infer that it

had nothing better to offer than a reversion to the disparate

treatment of the Cooper test and simply expected the Court to

order the Commonwealth to scurry about under federal supervision

with the goal of coming up with something better – at the

Commonwealth’s expense.    On this record, I thought such an order

would contravene the congressional intent behind Section

703(k)(1)(A).




                                  24
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 25 of 54



          4.   The Irony of It All – And the Need for a Trial

     The irony of what the Court had done was not lost on me.

After railing on in this and other opinions about how federal

judges are too quick to resort to summary judgment, see, e.g.,

Seitz, 2011 WL 1377881, *1 n.2; In re One Star Class Sloop

Sailboat built in 1930 with Hull No. 721, Named “Flash II”, 517

F. Supp. 2d at 555-56, and having learned that on one occasion I

myself had been too quick to do exactly that, Sensing v. Outback

Steakhouse of Fla., LLC, 575 F.3d 145 (1st Cir. 2009), rev’g

Sensing v. Outback Steakhouse of Fla., Inc., 566 F. Supp. 2d 24

(D. Mass. 2008), here I was granting partial summary judgment

against the moving party on a point where the opposing party had

not even asked for it.    Why?   I knew I was laying myself open to

charges that I had conflated fact-finding with law explanation

(cognitive illiberalism it is being called today)20 and have used


     20

     Cognitive illiberalism is demonstrated in cases where the
     court, by insisting that a case be decided summarily,
     denies those citizens who see the facts differently an
     opportunity, in jury deliberations, to “inform and
     possibly change the view of citizens endowed with a
     different perspective.” Dan M. Kahan et al., Whose Eyes
     Are You Going to Believe? Scott v. Harris and the Perils
     of Cognitive Illiberalism, 122 Harv. L. Rev. 837, 841-42
     (2009). It also makes the decision illegitimate in the
     eyes of any subcommunities whose members see the facts in
     a different way. See id. at 842; see also Stephen B.
     Burbank, Pleading and the Dilemmas of Modern American
     Procedure, 93 Judicature 109, 117-18 (2009) (applying
     cognitive illiberalism analysis to pleading under Twombly
     and Iqbal).
Stephen B. Burbank, Summary Judgment, Pleading, and the Future of

                                  25
     Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 26 of 54



summary judgment for the purposes of docket clearing.21         I

recognize that, since December 1, 2010, it is now the command of

Federal Rule of Civil Procedure 56(a) that summary judgment

“shall” be granted where appropriate, see Steven G. Gensler,

Must, Should, Shall, 43 Akron L. Rev. 1139 (2010), but I continue

to adhere to the sound advice of Judge Brock Hornby: “[W]hen in

doubt on facts or their inferences, judges should ‘just say no.’”

 D. Brock Hornby, Summary Judgment Without Illusions, 13 Green

Bag 2d 273, 288 (2010).

     Of course, I did have doubts.       But then, I always have

doubts.22   The question is not whether I have doubts, but whether

I am honestly certain enough to act to alter the legal

relationship of the parties.



Transsubstantive Procedure, 43 Akron L. Rev. 1189, 1193 n.24
(2010); see generally Mark R. Brown, Qualified Immunity and
Interlocutory Fact-Finding in the Courts of Appeals, 114 Penn.
St. L. Rev. 1317, 1332 (2010) (“Together Harris and Iqbal
represent a basic distrust of the district courts’ collective
abilities to protect governmental defendants. Both cases point
to more – not less – interlocutory review. . . . [The Supreme
Court’s] preference for efficiency and respect for district court
fact-finding appear to be on life support.”).
     21
       Here, the charge that I was using partial summary
judgment as a docket clearing device has some bite. Not docket
clearing itself, of course; rather, partial summary judgment here
played a role in moving the case toward a real trial. See
Addendum, infra.
     22
      “[D]oubt falls upon    me – as it must on all. . . . I can
do only the best I can.”     Major General Lucian K. Truscott Jr. to
his wife Sarah on the eve    of the invasion of Sicily, as quoted in
Rick Atkinson, The Day of    Battle 84 (2007).

                                   26
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 27 of 54



     The Court’s reasoning followed this path: The Court

concluded that summary judgment for the Commonwealth on the

second prong was both warranted and appropriate.        Still, summary

judgment against a moving party is risky.       The safer, albeit more

costly course would have been to defer decision until after

trial.   That way, the Court could have had the benefit of

evidentiary development and its fact-finding would have been more

or less unassailable.    Thus the Court was faced with a dilemma

akin to that facing every judge presented with a meritorious

motion for a directed verdict at the close of all the evidence.

Ought I grant the motion as the law requires and end the case?

Or should I take the time for arguments, charge, and jury

deliberations confident that the jury will “save” me and the case

need never be tried again?    I am likely to follow the second

course; though, had the same motion been pressed at the close of

the plaintiff’s case with a two week defense case in the offing,

I would be more likely to grant it.

     So it was here.    Concluding on the record before the Court

on January 28, 2011, that summary judgment was appropriate for

the Commonwealth on the second prong, the Court nevertheless

would have denied it and, perhaps, tweaked it’s conclusions

during the course, of say, a two week trial.       Faced with a two

month trial, however, the Court granted summary judgment on the

second prong, confident that it could revisit the issue if


                                  27
       Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 28 of 54



necessary during the nine day trial of the third prong.            If this

be error, I thought, make the most of it.

       Most of these ruminations, however, are quite beside the

point.

       Why?

       Simply because, when subjected to the salutary discipline of

written analysis, I came to the dawning realization that granting

summary judgment to the Commonwealth on prong two on January 28,

2011 was clearly erroneous.       By referring to the familiar

“relatedness” tests explicated by the Supreme Court in the

airline deregulation and ERISA cases, I had set the

Commonwealth’s “relatedness” hurdle far too low and by relying on

common sense I had too quickly assumed the use of the PAT was a

“business necessity” for the Commonwealth.

              5.   Relatedness and Business Necessity Revisited

       In disparate impact cases, “relatedness” and “business

necessity” have particular, albeit nebulous, meanings under the

law.    These requirements of the so-called “business necessity

defense” are indeed conjunctive, but also quite interrelated.

                    a. Jurisprudence

       The Supreme Court has yet to provide a precise definition

for “relatedness” or “business necessity.”          Instead, since the

business necessity defense was introduced in Griggs in 1971, the

burdens and standards have undulated and left lower courts with


                                       28
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 29 of 54



little guidance.   To understand the current standards, it is

helpful to unwind the Supreme Court’s labyrinthine business

necessity defense jurisprudence.

     As originally articulated in Griggs, the employer bears the

burden of showing that the challenged practice has a “a manifest

relationship to the employment in question,” and “bear[s] a

demonstrable relationship to successful performance of the jobs

for which it [is] used.”    401 U.S. at 431-32.     Four years later,

the Supreme Court in Albemarle Paper Co. v. Moody, 422 U.S. 405

(1975), held that employers must do more than allege their

practices to be “useful” decision-making tools: “[D]iscriminatory

tests are impermissible unless shown by professionally acceptable

methods, to be ‘predictive of or significantly correlated with

important elements of work behavior which comprise or are

relevant to the job or jobs for which candidates are being

evaluated.’”   Id. at 431 (quoting 29 C.F.R. § 1607.4(c)).         In

Dothard v. Rawlinson, 433 U.S. 321 (1977), the Supreme Court

analyzed a height and weight requirements for prison guard

applicants and reemphasized that a disparate impact defendant

must demonstrate something more than a mere rational or common

sense relationship between the challenged practice and job

performance.   Id. at 331-32.

     The Supreme Court appeared to retreat toward a more relaxed

standard in New York Transit Auth. v. Beazer, 440 U.S. 568


                                  29
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 30 of 54



(1979), and in a plurality opinion in Watson v. Fort Worth Bank &

Trust, 487 U.S. 997 (1988), in which the Court noted that a

selection device could be defended if the business’ goals were

significantly served by the device, even if achieving the goals

did not require use of the device.       See Beazer, 440 U.S. at 587

n.31.

        In Wards Cove Packing Co., Inc. v. Atonio, 490 U.S. 642

(1989) the Supreme Court maintained the liberalized standard for

the business necessity defense expressed in Beazer and Watson:

        [T]he dispositive issue is whether a challenged practice
        serves, in a significant way, the legitimate employment
        goals of the employer. The touchstone of this inquiry is
        a reasoned review of the employer’s justification for his
        use of the challenged practice. . . . [T]here is no
        requirement that the challenged practice be “essential”
        or “indispensable” to the employer’s business for it to
        pass muster.

Id. at 659 (citations omitted).        The Wards Cove court went even

further though, and held that the defendant employer only bore

the burden of production on relatedness and business necessity

while the “burden of persuasion . . . remain[ed] with the

disparate-impact plaintiff.”     Id.

        In direct response to Wards Cove, Congress enacted the Civil

Rights Act of 1991 (the “Act”).      Pub. L. No. 102-166 § 3, 105

Stat. 1071, 1071 (1992).     The Act, codifying Griggs and other

Supreme Court decisions prior to Wards Cove, makes explicit that

it is a burden of persuasion that passes to the defendant, once a

prima facie case of disparate impact has been made.        See Charles

                                   30
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 31 of 54



A. Sullivan & Lauren M. Walter, Employment Discrimination Law and

Practice 284 (4th ed. 2009).     The Act states that the defendant

has the burden of demonstrating “that the challenged practice is

job related for the position in question and consistent with

business necessity.”   Pub. L. No. 102-166 § 105(a).

     In addition to reassigning the burden of persuasion to the

defendant, the Act also clarified that the challenged practice

must both be job-related and justified by business necessity.

The Act did not, however, provide much illumination on the

definition of these terms.    Instead, Congress expressly limited

the sources of legislative history which could be used to

interpret the statute: “No statements other than the interpretive

memorandum appearing at Vol. 137 Congressional Record S 15,276

(daily ed. Oct. 25, 1991) shall be considered legislative history

of, or relied upon in any way as legislative history in

construing or applying, any provision of this Act that related to

Wards Cove – business necessity/cumulation/alternative business

practice.”   Id. § 105(b).   The interpretive memorandum, however,

was similarly vague in its construction of the terms.        “The terms

‘business necessity’ and ‘job related’ are intended to reflect

the concepts enunciated by the Supreme Court in Griggs v. Duke

Power Co., and in the other Supreme Court decisions prior to

Wards Cove Packing Co. v. Atonio.”      137 Cong. Rec. S 15,276

(daily ed. Oct. 25, 1991) (interpretive memorandum).        And so, as


                                  31
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 32 of 54



a lower court, I find myself circling back to the old, more

restrictive approach to business necessity and job relatedness

and struggling to apply the appropriate standards.        Mack A.

Player, Employment Discrimination Law 368 (1988); see Bradley v.

Pizzaco of NE, Inc., 7 F.3d 795, 797-98 (8th Cir. 1993).

     It remains clear that the employer must demonstrate, through

professionally acceptable methods, that the test is predictive

of, or correlated with important job tasks.       To meet this burden

the defendant must present statistical proof in the form of

validation studies.   The Supreme Court in Albemarle, codified by

the Act, explicitly acknowledged that the Equal Employment

Opportunities Commission Uniform Guidelines on Employee Selection

Procedures (“EEOC Guidelines”) – specifically, the standards of

test validation – were entitled to great deference in determining

whether an employer has demonstrated that its practices are job

related.   Albemarle, 422 U.S. at 430-31.

     The validity of a test is established by demonstrating that

there is a greater probability that high scorers on the test will

perform well on the job than will low scorers.       45A Am. Jur. 2d

Job Discrimination § 313.    Employers may satisfy their burden of

persuasion by producing “data showing that the content of the

selection procedure was representative of important aspects of

performance on the job for which the candidates [were] to be

evaluated” (content validity) or “empirical data demonstrating


                                  32
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 33 of 54



that the selection procedure was predictive of or significantly

correlated with important elements of job performance” (criterion

validity).   29 C.F.R. § 1607.5(B).

                  b.   Current Standard for Business Necessity
                       Defense

     In distillation of the above, this Court is left with the

following two-part standard for the business necessity defense:

(1) Business necessity: whether the skill sought to be measured

by the employment test is consistent with business necessity

(essentially, is the skill actually a prerequisite for the job in

question?); and (2) Relatedness: whether the test itself is

clearly job related by closely approximating on-the-job tasks

(essentially, does the test effectively measure those skills

identified in step one?     Does the test have content validity?).

      The first part of the analysis, business necessity,

“inquires whether the job criteria arise out of a manifest

business need.”    Graffam v. Scott Paper Co., 870 F. Supp. 389,

400 (D. Me 1994) aff’d by Graffam v. Scott Paper Co., No. 95-

1046, 1995 WL 414831 *4 (1st Cir. July 14, 1995) (unpublished

decision).   To satisfy this step, the employer must identify the

skill or ability the test measures and prove that the tested

skills were required or important for effective, efficient, and

safe performance of the job (likely by performing a job

analysis).



                                   33
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 34 of 54



     The second part of the analysis, relatedness, “inquires

whether there is a [statistically proven] correlation between the

criteria used and successful job performance.”       Id.   To satisfy

this part of the analysis an employer must show correlation

between the skills tested and those required for the job in

question, thereby demonstrating that the test effectively

measures the skills required.

               c.   The Standard Applied

     As the Court acknowledged initially, it is difficult indeed

for the party bearing the burden of persuasion to succeed on a

motion for summary judgment.     Here, upon further reflection, the

Court has realized just how difficult it can be.        Ignoring, as

the Court must for purposes of its sua sponte action, all of the

Commonwealth’s proffered evidence, and relying only on what has

been admitted or proffered by the United States, the Court cannot

say as matter of law that the PAT is job related and consistent

with business necessity.23

                     i.    Business Necessity

     First, “[s]trength and agility tests . . . may be used as

selection devices only to the extent that a particular level of

     23
       The United States apparently initially believed that it
was immaterial whether the PAT was job-related or consistent with
business necessity because it believed it could nonetheless
prevail by succeeding on prong three. See Pl. Mem. Supp. M.
Summ. J. 5-6. As such, neither party briefed the issues of
relatedness or business necessity and the Court must search the
current filings for shards of evidence on these issues.

                                  34
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 35 of 54



strength or a particular physical skill is [crucial] for the

job.”    Player, supra, at 380.    The employer, therefore, must

first identify the skills which are necessary prerequisites for

job performance.    Although it is common sense to state that

candidates for the potentially dangerous job of correctional

officer need be physically fit, “an imprecise need for ‘stamina’

or ‘strength’ will not justify requiring applicants to pass a

battery of general physical tests.”      Id.   In short, common sense

is not enough to satisfy the first analysis, for business

necessity.

        To satisfy its burden, the Commonwealth would need to

perform a job analysis to determine the skills necessary for the

CO and CPO jobs.    Indeed, the Commonwealth proffers expert

reports with just this information.      See, e.g., Pl.’s App. 13,

Sharf Report, ECF No. 76-13.      These expert reports further claim

that the skills tested by the PAT are “consistent with business

necessity” because after they implemented this new screening

tool, the number of work-related injuries decreased.        Id. at 3.

So, the logic goes, if applicants passing the PAT screening are

being injured less, the skills tested by the PAT must be skills

necessary for safe performance of the CO and CPO jobs.

        These reports, however, must be disregarded at this stage.

Moreover, the Court must accept as true the United States’

assertion that the skills tested are not necessary to


                                   35
      Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 36 of 54



successfully perform the duties of a correctional officer.           The

United States proffers that the reduction in workplace injuries

is unrelated to the use of the PAT as a screening device and,

therefore, that the PAT has not been shown to be “consistent with

business necessity.”     To support this claim, the United States

provides expert reports which call into question the validity of

studies demonstrating the reduction in injuries, claiming that

the studies ignore the downward trend in injury rates already

occurring before the PAT was introduced and the improvements in

training and other administrative programs implemented in the

correctional facilities meant to improve safety.          Jones Report

vi.   As the moving party, the Commonwealth cannot meet its burden

of proving that the PAT is “consistent with business necessity”

because it cannot demonstrate that the skills tested on the PAT

were necessary for effective, efficient, or safe job performance.

                       ii. Relatedness

      Failing on the first step of the business necessity defense,

it is unnecessary to reach the question of whether the PAT is

“job-related.”    Even assuming, however, that the Commonwealth was

able to demonstrate that the myriad physical skills tested by the

PAT were indeed prerequisites for the position of correctional

officer, it would still need to demonstrate that the PAT utilizes

appropriate metrics to measure those skills.         See United States

v. City of Erie, 411 F. Supp. 2d 524, 556 (W.D. Penn. 2005); see


                                    36
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 37 of 54



also Berkman v. City of N.Y., 536 F. Supp. 177, 208 (E.D.N.Y.

1982) (noting that test makers must “exercise reasonable

competence, so that it can reasonably be said that the matters

measured by the test are the matters identified as appropriate

for measurement by the job analysis”).

     Hypothetically on these facts, if “trunk strength” were

proven, in step one, to be a necessary skill for the position of

correctional officer, the second step would inquire whether the

requirement that the candidate lift 110 pounds from the floor to

their waist five times in under thirty seconds filters those

candidates who will safely and effectively perform the job from

those who will not.   See Pl. App. 34, Rationale for PAT, ECF No.

77-16.

     To meet its burden, the Commonwealth would have to

demonstrate, through professionally acceptable methods, that the

PAT effectively measures those skills required for the position

of correctional officer.    To do so, it must present validation

studies, in compliance with the EEOC guidelines.        At this

juncture, however, the Court must ignore the validation studies

and expert opinions proffered by the Commonwealth.

     The United States argues that the test items do not

accurately reflect the true physical nature and requirements of

the jobs of COs and CPOs.    According to the United States’ expert

reports, the “obstacle course” event of the PAT (consisting of 8


                                  37
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 38 of 54



out of the 11 tasks) does not closely track (content validity) or

predict the ability to meet (criterion validity) the physical

demands of a correctional officer.      Jones Report vi.    Although

the individual tasks may appear reasonably to approximate the

tasks of a CO or CPO, the series of eight tasks does not reflect

a representative sampling of job tasks because it is highly

unlikely that a CO or CPO would be required to respond to such a

contrived continuous emergency event.        Id.

     Moreover, the United States argues that the test lacks

criterion validity because it does not distinguish among

candidates.   Of the eleven PAT components, four components

account for nearly all failures.       Id.   These four components are

also the same components which have the greatest disparate impact

on women.   Id.   Even if each skill tested on the PAT were deemed

to be necessary for job performance in step one, the United

States argues that the PAT does not accurately measure seven of

the eleven skills and cannot be viewed as “job-related.”

     Lastly, the United States argues that the test is

fundamentally flawed because it was developed using a superficial

and professionally unacceptable method.       McArdle Report 4.

     Taking all evidence in the light most favorable to the non-

moving party, the United States, the Commonwealth does not meet

its burden of showing that the PAT effectively measures the

skills required for the positions of CO and CPO.


                                  38
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 39 of 54



     Upon renewed examination, the Court cannot say that the

Commonwealth is entitled to judgment as matter of law on the

business necessity defense. In light of this analysis, there was

nothing for it but promptly to vacate the erroneous grant of

summary judgment on prong two and schedule a renewed pre-trial

conference to plan for the trial of that prong.        This the Court

did on March 31, 2011.    Order, March 31, 2011, ECF No. 129.

     Without further analysis, the Court concludes that the trial

of the second prong ought encompass both the relatedness and

business necessity issues.    Any further guidance for the trial

was worked out cooperatively at the final pre-trial conference.

     Since December 1, 2010, Rule 56(a) provides “[t]he court

should state on the record the reasons for granting or denying

the motion.”   The Advisory Committee Notes explain, “it is

particularly important to state the reasons for granting summary

judgment.   The form and detail of the statement of reasons are

left to the court’s discretion.     The statement on denying summary

judgment need not address every available reason.”

     I rarely take the time, as I have here, to explain a denial

of summary judgment since the case is moving toward trial.         After

all, as my colleague Judge Joseph L. Tauro famously remarked,

“What part of the word DENIED don’t you understand?”        As a matter

of essential fairness, however, like most judges when allowing




                                  39
     Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 40 of 54



summary judgment, I have tried to provide an oral or written

explanation.

     Even with the recent amendment to Rule 56, I shall continue

to follow my regular practice of but rarely explaining a denial

of summary judgment.    Summary judgment practice is already

markedly overused, unwieldy, and a source of unwarranted delay.

See n.10 supra.    To extend a requirement that there be a written

judicial opinion on every summary judgment denial is simply

unworkable.24   In fairness, the 2010 revision to Rule 56 does not

go this far.    It is only hortatory, expressing a view as to what

“should” happen.    Fed. R. Civ. R. 56(a).     My fear is that the

rules change will cause even further delay in a federal system

that is already sclerotic.     I respectfully decline, opting

instead to follow Judge Hornby’s prescription, “just say no.”

Hornby, supra, at 288.

     C.    The Third Prong - Trial?

     A United States district judge has the responsibility of

providing the best justice possible – in every single case.




     24
       But see generally, Jesse Leigh Jenike-Godshalk, Comment,
Appealed Denials and Denied Appeals: Finding a Middle Ground in
the Appellate Review of Denials of Summary Judgment Following a
Full Trial on the Merits, 78 U. Cin. L. Rev. 1595 (2010)
(encouraging district court judges to list the legal and factual
reasons for denying a motion for summary judgment to allow for a
more informed appeals process).

                                   40
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 41 of 54



     A trial judge bears the unique obligation of providing
     the fairest possible trial, hearing, and decision.
          Appellate courts set minimum requirements.
          This is where we start. It is our challenge
          to go much further and conduct the fairest
          proceedings humanly possible.

Young, Vanishing Trials, supra, at 93.

     Here, the best possible justice would involve a trial on the

third prong.   It is during trial of the third prong that the real

heavy lifting would take place and the important Congressional

purpose best could be achieved.     The real question is not whether

the Caritas PAT results in a disparate impact on women (it does),

nor is it whether the test is job related and implemented to

achieve public policy goals (we’ll see).      The real question is

whether we can do better.    Can we achieve those same public

policy goals and reduce or eliminate the disparate impact on

women?   Trial of the third prong would have explored those

important issues in a fair and nuanced manner with the goal of

truly achieving equal economic opportunity for both men and women

while, at the same time, achieving the Commonwealth’s significant

public policy goals.

     Instead, the United States has reneged on its promise of

evidence as to the third prong, thrown that issue away in an

apparent fit of pique, and appeared ready to take its ball and go

to play on another field, evidently hoping against hope that the

First Circuit would indulge its on-again off-again penchant for

reassigning district court judges in on-going litigation.         See

                                  41
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 42 of 54



Danaipour v. McLarey, No. 01-11528-DPW, slip op. at 5-9 (D. Mass.

Sept. 12, 2003) (Woodlock, J.) (collecting cases); see also

United States v. Gonczy, 357 F.3d 50 (1st Cir. 2004), Mandate

[01-cr-10055, Doc. No. 395] (“Re-sentencing must be held before a

new trier.”).

     And so there will be no trial on the third prong.         What will

happen now?   At a renewed pre-trial conference held promptly

after the Court had vacated its grant of summary judgment on the

second prong, the parties agreed to a three week trial of that

issue.    See note 14, supra.   During the three week trial of the

second prong, the Court will carefully grope for a test that is

minimally legally adequate without ever asking the question “Can

we do better?” – the question the United States had promised to

answer.   Resort to this litigation tactic in a lawsuit between

the federal government and a state is sad.       One hundred fifty

years ago, our president had occasion to speak to the states.

“We are not enemies, but friends,” he said.       Abraham Lincoln,

First Inaugural Address, March 4, 1861, available at

http://www.loc.gov/exhibits/treasures/images/vc2.6p7.jpg.         The

United States ought heed his words today.




                                  42
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 43 of 54



VI. CONCLUSION

     The United States having prevailed on the first prong via a

case stated and abandoned the third prong, the case shall stand

for trial on the second prong.

SO ORDERED.



                                 /s/ William G. Young

                                 William G. Young
                                 District Judge




                                  43
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 44 of 54



                               ADDENDUM

     This case is an example of managing for trial.        Throughout

this opinion, I have detailed the management decisions made by

the Court to manage for trial.     By “managing for trial,” I mean

only that I conceive of trial as the primary means provided by

our constitution and laws for the fair and impartial resolution

of legal disputes and that all litigants come to court seeking a

prompt trial or the credible threat of a trial.        See D. Brock

Hornby, The Business of the U.S. District Courts, 10 Green Bag 2d

453, 461-62 (2007).   This is called the trial model of district

court business.

     This is, however, the minority view.       Today, it is the

administrative model of the business of the district courts that

holds sway.   See Patrick E. Higginbotham, The Present Plight of

the United States District Courts, 60 Duke L.J. 745, 747

(2010).   The administrative model seeks the speedy, inexpensive

(to the courts), and cost-efficient resolution of every case.

Trials, being costly and inefficient, are disfavored.        See

generally Judith Resnik, Trial as Error, Jurisdiction as Injury:

Transforming the Meaning of Article III, 113 Harv. L. Rev. 924

(2000).

     Both models require hands-on judicial management, of course,

but their goals are significantly different. Under the trial

model, the judge makes management decisions with an eye toward


                                  44
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 45 of 54



how the case is going to be tried.      Settlement and mediation are

constantly encouraged but the judicial function is seen as

steering the case toward a prompt and fair trial.        The choice to

opt-out is left to the litigants.      Under the administrative

model, the primary goal is case resolution.       Trial is an option,

but usually a last resort.

     These are not theoretical differences in management style.

They are actual, palpably different approaches that lead to

different institutional competencies and outcomes.        The issue is

not judicial management.     Everyone agrees judicial management is

necessary and beneficial.    The issue, rather, is – as one astute

commentator has so ably observed – how should district court

judges be spending their time?     Steven S. Gensler, Judicial Case

Management: Caught in the Crossfire, 60 Duke L.J. 669, 689-697

(2010).

     Today, the measures used by the Judicial Conference of the

United States publicly to evaluate the performance of the 94

district courts all emphasize the administrative model.         By

omission (and in the case of one district, by direct action, see

Judicial Conference of the United States, Preliminary Report:

Judicial Conference Actions 4, March 15, 2011, (recommending that

the President and the Senate not fill the next judgeship vacancy

in the District of Massachusetts “based on the three-year low

weighted caseload in that district”), these measures tend to

                                  45
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 46 of 54



undermine the operations of those courts that are actually the

most productive of America’s district courts.

     It is appropriate, therefore, briefly to analyze how

district judges are actually spending their time today and what

the supremacy of the administrative model has wrought.

     In short, how are we doing?

     The answer: not very well at all.

     Unfortunately, the administrative model of the district

judge now in vogue places little or no value on the trial itself.

Yet this aspect of our work – the trial itself (especially the

American jury trial) – is the central and unique societal benefit

that the district court judiciary contributes to our nation.

Consider the views of three of the most knowledgeable judicial

observers of our work:

            The brilliant Judge Richard S. Arnold cuts directly to

the bone:

     I think in the 20 years since I was a district court
     judge, we’ve seen a tremendous increase in volume,
     tremendous pressure to decide cases without thinking very
     much about them, tremendous pressures to avoid deciding
     cases. I mean, some judges will do almost anything to
     avoid deciding a case on the merits and find some
     procedural reason to get rid of it, coerce the parties
     into settling or whatever it might be.

Judge Richard Arnold, Mr. Justice Brennan and the Little Case,

32 Loy. L.A. L. Rev. 663, 670 (1999).

     How might reality television portray a federal “trial”
     judge in civil lawsuit garb?     In an office setting
     without  the   robe,  using   a   computer  and  court

                                  46
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 47 of 54



     administrative staff to monitor the entire caseload and
     individual case progress; conferring with lawyers (often
     by telephone or videoconference) in individual cases to
     set dates or limits; in that same office at a computer,
     poring over a particular lawsuit’s “facts,” submitted
     electronically as affidavits, documents, depositions, and
     interrogatory answers; structuring and organizing those
     facts, rejecting some or many of them; finally,
     researching the law (at the computer, not a library) and
     writing (at the computer) explanations of the law for
     parties and lawyers in light of the sorted facts.25 For


     25
       “Fact sorting” is a new concept. As Judge Hornby
explains it, most fact sorting occurs in the summary judgment
context. “Typically, [lawyers] present . . . information
electronically, through the courts’ electronic case filing
system. The district judge or magistrate judge sorts these
electronically-provided facts and determines which are undisputed
and which facts matter, thus discarding other facts. . . .”
Hornby, supra, at 460.

     Whatever happened to fact-finding?

     [F]act-finding is difficult. Exacting and time consuming
     it inevitably falls short of absolute certainty. More
     than any society in history, the United States entrusts
     fact-finding to the collective wisdom of the community.
     Our insistence on procedural safeguards, application of
     evidence rules, and our willingness to innovate are all
     designed to enhance impartial fact-finding.

     Judicial fact-finding is equally rigorous. Necessarily
     detailed, judicial fact-finding must draw logical
     inferences from the record, and, after lucidly presenting
     the subsidiary facts, must apply the legal framework in
     a transparent written or oral analysis that leads to a
     relevant conclusion. Such fact-finding is among the most
     difficult of judicial tasks.        It is tedious and
     demanding, requiring the entirety of the judge’s
     attention, all her powers of observation, organization,
     and recall, and every ounce of analytic common sense he
     possesses. Moreover, fact-finding is the one judicial
     duty that may never be delegated to law clerks or court
     staff. Indeed, unlike legal analysis, many judges will
     not even discuss fact-finding with staff, lest the
     resulting conclusions morph into judgment by committee
     rather than the personal judgment of the duly constituted

                                  47
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 48 of 54



     federal civil cases, the black-robed figure on the bench,
     presiding publicly over trials and instructing juries,
     has become an endangered species, replaced by a person in
     business attire at an office desk surrounded by
     electronic assistants.
     . . . .



     judicial officer.

     Fair and impartial fact-finding is supremely important to
     the judiciary.
     . . . .
     While trial court legal analysis is appropriately
     constrained by statutes and the doctrine of stare
     decisis, the true glory of our trial courts, state and
     federal, is their commitment to fair and neutral fact-
     finding.    Properly done, facts found through jury
     investigation or judicial analysis truly are “like
     flint.”

     Yet there has been virtual abandonment by the federal
     judiciary of any sense that its fact-finding processes
     are exceptional, or due any special deference. Federal
     district court judges used to spend their time on the
     bench learning from lawyers in an adversarial atmosphere,
     and overseeing fact-finding by juries or engaging in it
     themselves. This was their job and they were proud of
     it. Today, judges learn more reflectively, reading and
     conferring with law clerks in chambers. Their primary
     challenge is the proper application of the law to the
     facts – facts that are either taken for granted, or
     sifted out of briefs and affidavits, and, in the mode of
     the European civil justice systems, scrutinized by judges
     and clerks behind closed doors. While judges do talk to
     lawyers in formal hearings, these hearings can be short,
     and usually serve to test and confirm a judge’s
     understanding rather than develop it.

William G. Young, A Lament For What Was Once and Yet Can Be, 32
B.C. Int. & Comp. L. Rev. 305, 312-314 (2009) (footnotes omitted).
Truly, the eclipse of fact-finding foreshadows the twilight of
judicial independence. See Seitz, 2011 WL 1377881 *1 n.2.
     The affidavit is the Potemkin Village of today’s litigation
landscape. Purported adjudication by affidavit is like walking
down a street between two movie sets, all lawyer-painted façade
and no interior architecture.

                                  48
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 49 of 54



     Trials have gone the way of landline telephones – useful
     backups, not the instruments primarily relied upon.
     . . . .
     Trials as we have known them . . . are not coming back.

Hornby, supra, at 462, 467-68 (footnotes omitted); see generally,

Arnaud Lucien, Staging and the Imaginary Institution of the

Judge, 23 Int’l J. for the Semiotics of L. 185 (2010).


     The faces of the United States district courts are
     fading. . . . Grants of summary judgment without any
     live appearance by counsel [are] commonplace, depriving
     trial attorneys of the opportunity to bring papers to
     life with oral argument.      Instead, the papers [are]
     filed, and, some time later, a written order [is] issued.
     This is no lonely pixel. The phenomenon is fueled by the
     centrality of the motion for summary judgment, which has
     displaced the trial as the destination point for
     litigation. Today it is unlikely that a trial date will
     ever be set, and rarer still that a trial date will have
     any meaning to the court and hence to the parties. . . .
     On average, a U.S. district judge tries fourteen cases,
     civil and criminal, per year, which last an average of
     between four and five days.       Therefore, the average
     district judge has nearly three hundred days each year
     with no trials. I highlight these figures not to suggest
     that these judges are not working but rather to inquire
     as to what type of work they are doing.
     . . . .
     In reality, trials are an increasingly small part of the
     daily routine of the federal trial courts. Most district
     courts now try very few civil or criminal cases – a
     documented phenomenon I will not rehearse here. One must
     keep this picture ever in mind because it is the most
     salient feature of the federal trial courts today – and
     as I see it, the manifestation of the illness I will
     discuss.
     . . . .
     I will argue that federal trial courts are now more like
     administrative agencies than trial courts in their
     present efforts to discharge their duty to decide cases
     or controversies, and that we are witnessing the death of
     an institution whose structure is as old as the Republic.
     . . . .


                                  49
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 50 of 54



     The proposition that trial courts should try cases seems
     a given, yet the reality is that federal district courts
     have moved so far from this task that it is an open
     question. At the outset I observed that many judges do
     not agree that conducting trials ought to be their
     primary function.      Judges who subscribe to this
     philosophy hold trials only when they cannot persuade the
     parties to settle their case through mediation or through
     protracted delays before scheduling a trial.         Such
     attempts at stalling as a means to provoke settlement
     provide one compelling explanation for the increase in
     time to trial even as trials have decreased in number.
     But a return to a model in which the principal work of
     the trial judge is to try civil and criminal cases need
     not take away from opportunities for litigants to
     privately elect methods to settle their disputes.
     Historically, setting a firm trial date and providing
     pretrial access to the presiding judge has produced a 90
     percent settlement rate with a shorter time from trial to
     disposition.
     . . . .
                            Conclusion
     The present state of affairs makes plain that the federal
     district courts are not on the correct path. Returning
     to a trial model would be a significant step toward
     fulfilling the traditional expectations for the federal
     courts.    Much of the present difficulty arose from
     seductive – but ultimately misguided – notions that there
     is a better way.

     The United States district courts are the most vital
     judicial institution in this country. Their courageous
     history of protecting the constitutional rights of the
     disfavored and the downtrodden has earned their great
     prestige and solidified their venerable role in American
     governance. Federal trial courts cannot maintain this
     status if they become indistinguishable from state
     highway departments; but on the present trajectory, this
     is their destination. If this bleak picture comes to
     pass, life tenure cannot be defended, and Article III
     “trial” courts will become indistinguishable from the
     thousands of administrative
     law judges. Civil service is just over the horizon.

Patrick E. Higginbotham, The Present Plight of the United States

District Courts, 60 Duke L. J. 745, 745-747, 761-762 (2010)


                                  50
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 51 of 54



(footnotes omitted).    Actually, Judge Higginbotham is being

generous in estimating 14 trials per year per active district

judge.    The most recent available figures reveal that the average

active district judge tried 4.4 civil and 5 criminal cases to

verdict in the 12 months preceding September 30, 2010.         Data

derived from Table C-12, “U.S. District Courts Trials and Trial

Days Period Ended Sept. 30, 2010" and Table T-2, “U.S. District

Courts Length of Civil and Criminal Trials Resulting in a Verdict

or Judgment by District, for the 12 Month Period Ended Sept. 30,

2010 Civil Trials of Miscellaneous Cases.”

     Today the mantra is judicial management: management and more

management.    This is the distillate from the recent important

conference on the Federal Rules of Civil Procedure held at Duke

Law School. See Gensler, supra.

         As I noted some years ago:

     Of course, most cases ought settle. Of course, we must
     embrace all forms of voluntary ADR. Of course, we must
     be skilled managers. But to what end? To the end that
     we devote the bulk of our time to those core elements of
     the work of the Article III trial judiciary – trying
     cases and writing opinions. We ought to remember, as the
     RAND study and all of its progeny confirm, the best case
     management tool ever devised is an early, firm trial
     date.

     The truth of the matter is that good management and
     traditional adjudication go hand in hand. We ought to
     confirm that basic truth, study how it is done, trumpet
     it, budget for it, and fight for it. The district court
     judiciary ought to be the nation’s most vigorous
     advocates of our adversary system and the American jury.
     We fail at our own peril.


                                  51
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 52 of 54



William G. Young, An Open Letter to U.S. District Judges, The

Federal Lawyer, July 2003 at 30, 33.

     As an institution, however, the federal judiciary no longer

seems to place much value on trial productivity at all.         See

Leonard Post, Federal Tort Trials Continue a Downward Spiral,

Nat’l L.J., Aug. 22, 2005, at 7 (quoting Professor Stephen

Burbank as saying “federal judges now give more attention to case

management and non-trial adjudication than they give to trials,”

and “it is quite clear that ‘trial’ judges ought to spend more

time on that activity from which the[ir] name is taken.”)         Jurors

- our constitutional partners in all that is decreed – rate but

two passing mentions in the new Strategic Plan for the Federal

Judiciary.   Judicial Conference of the United States, Strategic

Plan for the Federal Judiciary September 14, 2010, available at

www.uscourts.gov/uscourts/FederalCourts/Publications/StrategicPla

n2010/pdf.   Trials are never mentioned.     We assiduously measure

district court efficiency and yearly rank all 94 district courts

against these measures.    See Administrative Office of the U.S.

Courts, 2010 Federal Court Management Statistics, available at

http://www.uscourts.gov/fcmstat/index.html.

     Yet nowhere do we publicly measure actual productivity – the

core work of the federal district judge, going out on the bench

and actually trying our cases and engaging with litigants and the

bar in the actual adjudicative process.      As Judge Higginbotham


                                  52
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 53 of 54



noted years ago, the “Trials Completed” section of our Case

Management Statistics is misleading and borders on the

disingenuous.   Patrick E. Higginbotham, So Why Do We Call Them

Trial Courts?, 55 S.M.U. L. Rev. 1405, 1405-06 (2002).         I make

the same criticism in A Lament For What Was Once and Yet Can Be,

supra.

      We keep productivity data of course.       We just choose not to

share it publicly.   As noted above, during the 12 months

preceding September 30, 2010, the average active district court

judge tried 4.4 civil cases and 5 criminal cases.        During those

same 12 months, that judge presided over evidentiary hearings for

an average of 192 hours and was out on the bench in total an

average of 372 hours.

     The results of our own indifference toward jury trials
     are already sadly apparent. Because we no longer seem
     very interested in using our courtrooms, we are losing
     them. Further, the institutional judiciary seems bent on
     dismantling the superb professional teams so essential to
     sustained trial operations.     Somehow, we seem to be
     forgetting that the very reason for our judicial
     existence is to afford jury trials to our people pursuant
     to the United States Constitution.       Ironically, our
     ability to control our dockets to avoid the quotidian
     details of daily jury trials and save ourselves instead
     for “really big” constitutional adjudication insures that
     such cases will come our way less frequently.
     . . . .
     Having set [our]selves adrift from [our] constitutional
     partner – the American jury – federal trial judges now
     find themselves bereft of the central wellspring of [our]
     moral authority. Public disparagement and Congressional
     disdain follow in the wake of this trend.




                                  53
    Case 1:09-cv-11623-WGY Document 134 Filed 05/04/11 Page 54 of 54



William G. Young, Vanishing Trials, Vanishing Juries, Vanishing

Constitution, 40 Suffolk U. L. Rev. 67, 80-81 (2006) (footnotes

omitted).

     Suppose instead we were to rank our district courts on

actual productivity data?    At minimum, this would demonstrate

that the institutional judiciary cares about such matters.         I

predict, moreover, that such a ranking would provide an enormous

incentive for invigorating the trial model of adjudication and

with it, the constitutional values a truly independent judiciary

is designed to protect and advance.      To that end, I set out here

a listing of America’s Most Productive Federal District Courts as

derived from the official records of the Administrative Office of

the United States Courts.    These are the courts that occupy the

top third (i.e. the top 31 spots out of the 94 district courts)

in the composite ranking.    We can all learn from these courts.

These are the courts most deserving of our support – the courts

we all ought be imitating. It is my hope that this exposition

will promote genuine discussion addressing the fundamental issue

– how ought Article III district judges be spending their time?




                                  54
